      Case: 1:22-cv-00258-SJD Doc #: 18 Filed: 05/26/22 Page: 1 of 4 PAGEID #: 328




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


    NATIONAL ASSOCIATION OF SOCIAL
    WORKERS, et al.,

                 Plaintiffs,
                                                            Case No. 1:22-cv-00258-SJD
          v.
                                                            Judge Susan Dlott
    CITY OF LEBANON, OHIO, et al.,

                 Defendants.


                                 NOTICE AND STIPULATION

         Plaintiffs the National Association of Social Workers and Women Have Options – Ohio

(“Plaintiffs”) and Defendants the City of Lebanon, Ohio; Mark Messer, in his official capacity as

Mayor; Scott Brunka, in his official capacity as City Manager; Mark Yurick, in his official

capacity as City Attorney; and Jeffrey Mitchell, in his official capacity as Chief of Police, 1 agree

and stipulate as follows:

                The City of Lebanon will amend Lebanon Code of Ordinances Sections 509.09

and 509.10 in response to each of the claims that Plaintiffs are asserting in this litigation.

                Defendants agree not to knowingly initiate prosecution under or otherwise enforce

Lebanon Code of Ordinances Sections 509.09(B), with the exception of (B)(5); 509.09(D); and

509.10(C), with the exception of (C)(5), against Plaintiffs, their employees, members, or

volunteers, nor knowingly initiate any prosecution against any person based on their providing



1
    As used in this Stipulation, “Defendants” includes both the named Defendants as well as
their officers, agents, servants, employees, and attorneys, and all those acting in concert with
them.

                                                   1
   Case: 1:22-cv-00258-SJD Doc #: 18 Filed: 05/26/22 Page: 2 of 4 PAGEID #: 329




donations to Plaintiffs or performing work for or with Plaintiffs, from the date of this Stipulation

until 30 days after the City of Lebanon amends Lebanon Code of Ordinances Sections 509.09

and 509.10, subject to the proviso in paragraph 3.

               After the City of Lebanon amends Lebanon Code of Ordinances Sections 509.09

and 509.10, Plaintiffs will have 7 days to notify the Court and opposing counsel whether they

intend to renew or update their Motion for a Preliminary Injunction or, in the Alternative,

Expedited Summary Judgment, ECF No. 2. If Plaintiffs inform the Court and opposing counsel

that they will not renew or update their Motion, or if Plaintiffs fail to provide the required notice

within the 7-day window, then the amended ordinance will become fully enforceable,

notwithstanding the 30-day nonenforcement period described in paragraph 2.

               Defendants also agree not to knowingly initiate any future prosecution under or

otherwise enforce Lebanon Code of Ordinances Sections 509.09(B), with the exception of

(B)(5); 509.09(D); and 509.10(C), with the exception of (C)(5), against Plaintiffs, their

employees, members, or volunteers, nor knowingly initiate any prosecution against any person

based on their providing donations to Plaintiffs or performing work for or with Plaintiffs, based

on conduct that occurs during this period of non-enforcement.

               The Court will hold in abeyance Plaintiffs’ Motion for a Preliminary Injunction

or, in the Alternative, Expedited Summary Judgment, ECF No. 2 until Defendants amend

Lebanon Code of Ordinances Sections 509.09 and 509.10. If, following the amendment of said

ordinance, Plaintiffs renew or update said Motion, Defendants will file their response within two

weeks, but Plaintiffs will not oppose any request for an extension if Defendants agree not to

enforce the disputed provisions of the ordinance pending decision on that Motion.




                                                  2
   Case: 1:22-cv-00258-SJD Doc #: 18 Filed: 05/26/22 Page: 3 of 4 PAGEID #: 330




               The parties agree that this Stipulation does not entitle or allow the plaintiffs to

claim “prevailing party” status under 42 U.S.C. § 1988, or constitute a basis for an award of

attorneys’ fees as a prevailing party with respect to Plaintiffs’ Motion for a Preliminary

Injunction or, in the Alternative, Expedited Summary Judgment, ECF No. 2.


Respectfully submitted,

 /s/ B. Jessie Hill                                   /s/ Jonathan F. Mitchell
 B. Jessie Hill (0074770)                             Jonathan F. Mitchell*
 Freda J. Levenson (0045916)                          Mitchell Law PLLC
 Elena M. Thompson (0100287)                          111 Congress Avenue, Suite 400
 Rebecca Kendis (0099129)*                            Austin, Texas 78701
 ACLU of Ohio Foundation                              (512) 686-3940 (phone)
 1108 City Park Avenue, Ste. 203                      (512) 686-3941 (fax)
 Columbus, OH 43206                                   jonathan@mitchell.law
 Phone: (216) 368-0553 (Hill)
 (614) 586-1972                                       Joseph C. Pickens
 Fax: (614) 586-1974                                  Isaac Wiles
 bjh11@case.edu                                       Two Miranova Place, Suite 700
 flevenson@acluohio.org                               Columbus, Ohio 43215-5098
 ethompson@acluohio.org                               (614) 340-7416
 rebecca.kendis@case.edu                              jpickens@isaacwiles.com

 John Lewis (D.C. Bar No. 1033826)*                   Counsel for Defendants
 Kristen Miller (D.C. Bar No. 229627)*
 Sean Lev (D.C. Bar No. 449936)*
 Democracy Forward Foundation
 P.O. Box 34553
 Washington, DC 20043
 (202) 601-2483
 jlewis@democracyforward.org
 kmiller@democracyforward.org
 slev@democracyforward.org

 Counsel for Plaintiffs

 * Admitted pro hac vice




                                                  3
    Case: 1:22-cv-00258-SJD Doc #: 18 Filed: 05/26/22 Page: 4 of 4 PAGEID #: 331




                                   CERTIFICATE OF SERVICE

        I, B. Jessie Hill, hereby certify that on this 26th day of May, 2022, I electronically filed

the foregoing with the Clerk of Court for the United States District Court for the Southern

District of Ohio, Western Division via the ECF system, which will send notification of such

filing to all counsel of record.



                                                       /s/ B. Jessie Hill




                                                  4
